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            1:25-cv-00527-JEB           Document
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                                                                                                   Exhibit A

               United States DOGE Service Records Retention Policy

                                           March 25, 2025

As a component of the Executive Office of the President, US DOGE Service (USDS) personnel,
including personnel in the USDS temporary organization, are subject to certain records retention
obligations under the Presidential Records Act (PRA), 44 U.S.C. §§ 2201–2209, which requires
that the Administration take steps “to assure that the activities, deliberations, decisions, and
policies that reflect the performance of the President’s constitutional, statutory, or other official or
ceremonial duties are adequately documented and that such records are preserved and maintained.”

Consistent with prior USDS records retention guidance, the basic rule is to preserve all work-
related communications and records, regardless of format. As a reminder, “record” is a broad
term that includes—but is not limited to—any of the following to the extent they relate to
government business:

   •   Memoranda, letters, notes, reports, and other written communications, including with
       persons at other federal agencies and outside of government;

   •   Drafts, mark-ups, or comments on drafts that are circulated or shown to others;

   •   Official government forms, such as financial disclosures and ethics paperwork;

   •   Directives and policy statements;

   •   Emails, chats, text messages, and other electronic communications (e.g., on Mattermost);

   •   Voicemails or audio recordings; and

   •   PowerPoint slides, videos, photographs, and other media.

Remember—the easiest way to comply with these obligations is to use work devices for all work-
related activities. If you happen to receive work-related messages on your personal device—
whether via text, Signal, a personal email address, or otherwise—make sure to capture and transmit
those messages to your work device (such as by screenshotting and forwarding). Disabling auto-
delete features on any such messaging services will help with retention and compliance.

Purely personal records that have no relation to, or effect on, government work need not be
preserved. Further, certain materials without historical value, such as notes, drafts, or similar
documents that are not circulated or that are not created or saved for purposes of documenting the
activities or deliberations of the Administration, are not covered by the PRA.
